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Prob 12 (Rev. 11/1/2004)
                                    United States District Court
                                                for the
                                   DISTRICT OF MINNESOTA
                                United States v. Albert Donell Payne
                              Docket No. 0864 0:15CR00235-007(JNE)
                       Petition on Reentry Court Supervised Release Violation

        COMES NOW Krystal A. Taylor, U.S. PROBATION OFFICER OF THE COURT,
presenting an official report upon the conduct and attitude of Albert Donell Payne who was
sentenced for Conspiracy to Distribute Heroin on March 22, 2016, by Your Honor who fixed the
period of supervision at 3 years supervised release, and imposed the general terms and conditions
theretofore adopted by the Court and also imposed special conditions and terms as follows:

         •        No alcohol; not to enter establishment where alcohol is sold
         •        Participate in drug/alcohol treatment program
         •        No gang association
         •        Submit to searches
         •        Psychological/psychiatric counseling/treatment
         •        Employment required
         •        Education programming

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

 MANDATORY CONDITION: The defendant shall refrain from any unlawful use of a
controlled substance.

MANDATORY CONDITION: The defendant shall refrain from the use of alcohol.

On February 16, 2022, Reenrty Court participant, Albert Payne, commenced intensive mental
illness chemical dependency (MICD) treatment at Restoration Counseling and Community
Services, LLC (RCCS). Since treatment commenced Payne repeatedly relapsed through use of
alcohol or marijuana. To address his continued relapses, Payne was placed on the Sober Link
alcohol monitoring device on June 24, 2022. Since being placed on the Sober Link device, Payne
has submitted at least three positive alcohol tests and failed to report for over five random drug
screens. A detailed and chronological account of the violations are noted in the Reenrty Court
Violation Report.

PRAYING THAT THE COURT WILL ORDER that counsel for the participant be appointed,
the participant be directed to appear, and a Reentry Court Violation Hearing be held at 3:00 p.m.
on August 22, 2022, in Courtroom 7C, St. Paul, Minnesota, before the Honorable Donovan W.
Frank, to address the above noted violations.
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Petition on Supervised Release                             RE: Albert Donell Payne
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         ORDER OF THE COURT                    I declare under penalty of perjury that the
                                               foregoing is true and correct.
                               11th
Considered and ordered this __________  day
      August, 2022
of __________________, and ordered filed       s/Krystal A. Taylor
and made a part of the records in the above    Krystal A. Taylor
case.                                          U.S. Probation Officer
                                               Telephone: 612-664-5352
 s/Donovan W. Frank
Honorable Donovan W. Frank                     Executed on     August 11, 2022
U.S. District Judge
                                               Place           Minneapolis

                                               Approved:

                                               s/ Reginale B. Hall
                                               Reginale B. Hall
                                               Supervising U.S. Probation Officer
